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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------
COMMERZBANK AG,

                       Plaintiff,                    15-cv-10031 (JGK)

               - v.-                                 MEMORANDUM OPINION
                                                     AND ORDER
DEUTSCHE BANK NATIONAL TRUST COMPANY,

                    Defendant.
------------------------------------
JOHN G. KOELTL, District Judge:

     The plaintiff, Commerzbank AG (“Commerzbank”), allegedly

made 74 investments in 50 residential mortgage-backed securities

(“RMBS”) trusts (the “Trusts”) for which the defendant, Deutsche

Bank National Trust Company (“Deutsche Bank”), served as

trustee. Commerzbank seeks to hold the defendant liable for the

poor performance of Commerzbank’s investments in the Trusts, and

has asserted that the defendant (1) violated the Trust Indenture

Act of 1939 (the “TIA”), 15 U.S.C. § 77aaa, et seq.; (2)

breached the Pooling and Servicing Agreements (the “PSAs”) and

the indenture agreements (the “Indentures”) governing the

Trusts; (3) breached its fiduciary duty to Commerzbank; (4) was

negligent or grossly negligent; (5) violated New York’s Streit

Act, N.Y. Real Prop. Law § 124, et seq.; and (6) breached the

covenant of good faith. The defendant has moved to dismiss

portions of the Amended Complaint for failure to state a claim
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pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure.

     The motion to dismiss presents the feeling of déjà vu. In a

related case before this Court, see Phoenix Light SF Ltd. v.

Deutsche Bank Nat’l Trust Co., 14-cv-10103 (JGK) (S.D.N.Y.) (the

“Phoenix Light Action”), different plaintiffs brought

substantially similar claims against Deutsche Bank that, as

described by Commerzbank, are “rooted in the same basic alleged

facts and legal theories against the same defendant” and in fact

involve nine of the same Trusts. Dkt. 3 (The Related Case

Statement Filed by Commerzbank). The law firms representing the

parties in this action, and in that action, are the same. On

January 22, 2016, this action was stayed pending the decision on

the motion to dismiss portions of the Second Amended Complaint

in the Phoenix Light Action. See Dkt. 13. In an Opinion and

Order dated March 28, 2016 (“Deutsche Bank I”), the motion to

dismiss in the Phoenix Light Action was granted in part and

denied in part. See Phoenix Light SF Ltd. v. Deutsche Bank Nat’l

Trust Co., 172 F. Supp. 3d 700 (S.D.N.Y. 2016). Thereafter,

Commerzbank filed the Amended Complaint in this action.

     For the reasons explained below, Deutsche Bank’s motion to

dismiss the Amended Complaint is granted in part and denied in

part.



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                                   I.

     In deciding a motion to dismiss pursuant to Rule 12(b)(6),

the allegations in the complaint are accepted as true, and all

reasonable inferences must be drawn in the plaintiff’s favor.

McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 191 (2d Cir.

2007). The Court’s function on a motion to dismiss is “not to

weigh the evidence that might be presented at a trial but merely

to determine whether the complaint itself is legally

sufficient.” Goldman v. Belden, 754 F.2d 1059, 1067 (2d Cir.

1985). The Court should not dismiss the complaint if the

plaintiff has stated “enough facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009).

     While the Court should construe the factual allegations in

the light most favorable to the plaintiff, “the tenet that a

court must accept as true all of the allegations contained in

the complaint is inapplicable to legal conclusions.” Id. When

presented with a motion to dismiss pursuant to Rule 12(b)(6),

the Court may consider documents that are referenced in the

complaint, documents that the plaintiff relied on in bringing

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suit and that are either in the plaintiff's possession or that

the plaintiff knew of when bringing suit, or matters of which

judicial notice may be taken. See Chambers v. Time Warner, Inc.,

282 F.3d 147, 153 (2d Cir. 2002); see also Phoenix Light, 172 F.

Supp. 3d at 704–05.

                                   II.

     The allegations in the Amended Complaint are accepted as

true for purposes of this motion to dismiss.

     The allegations in the Amended Complaint are substantially

similar to those in the Second Amended Complaint in the Phoenix

Light Action, as described in Deutsche Bank I. See Phoenix

Light, 172 F. Supp. 3d at 705–07; see also Pl.’s Op. Mem. at 3

(“Commerzbank’s Amended Complaint is substantially the same as

the Second Amended Complaint in the [Phoenix Light Action].”).

Familiarity with that decision, the mechanism by which RMBS

trusts are created, and the alleged misconduct of the third-

party sponsors, originators, depositors, underwriters, and

servicers related to the Trusts (the “Third-Party Entities”)

that underlies Commerzbank’s claims, is presumed. See id.; see

also Phoenix Light SF Ltd. v. Bank of N.Y. Mellon, No. 14-CV-

10104 (VEC), 2015 WL 5710645, at *1 (S.D.N.Y. Sept. 29, 2015).

     Commerzbank is alleged to be an entity organized under the

laws of Germany. Am. Compl. ¶ 16. The defendant is alleged to be

a national banking organization with its principal place of

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business located in California. Am. Compl. ¶ 21. Commerzbank is

the holder, or former holder, of RMBS certificates (the

“Certificates”) issued by the Trusts, for which the defendant

served as trustee pursuant to the PSAs and Indentures governing

the Trusts. Am. Compl. ¶¶ 33, 108. The Certificates have an

original face value in excess of $640 million. Am. Compl. ¶ 3.

Commerzbank has brought in this action “its own claims while it

was [the holder of the Certificates] and the claims that were

assigned to it by [the prior holders of the Certificates].” Am.

Compl. ¶¶ 16-17.

     Commerzbank alleges that, over a period of years, the

Third-Party Entities systematically and substantially misbehaved

with respect to the Trusts. The essence of Commerzbank’s claims

is that the defendant failed to comply with its statutory,

contractual, and common law duties in monitoring and policing

the Third-Party Entities, and in notifying Commerzbank about the

misconduct. See, e.g., Am. Compl. ¶¶ 9-15, 34-35, 45, 61, 68,

73, 80, 129-32.

     The Amended Complaint alleges that the misconduct of the

Third-Party Entities became apparent to the defendant, and later

the public (including Commerzbank), in drips and drabs. The

Trusts were created between 2005 and 2007. Am. Compl. ¶ 2. The

Amended Complaint alleges that the defendant was aware of at

least some of the misconduct as early as 2007. Am. Compl. ¶ 130.

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The Amended Complaint alleges that, “Beginning in 2009 or 2010,

facts began to emerge publicly demonstrating that the Sponsors

and Originators had violated the representations and warranties

provided in connection with the [] Trusts.” Am. Compl. ¶ 77. The

Amended Complaint alleges that, in July 2011, the Association of

Mortgage Investors wrote a letter to, among others, the

defendant notifying the defendant about the Association’s

concerns regarding the conduct of the Third-Party Entities. Am.

Compl. ¶ 114. The Amended Complaint also alleges that, in

December 2011, another group of investors “in hundreds of RMBS

trusts issued written instructions to [the defendant], as

trustee, to open investigations into large numbers of ineligible

mortgages in the loan pools securing those trusts and deficient

servicing of those loans.” Am. Compl. ¶ 115.

     In November 2011, Commerzbank sold several of its

Certificates. See Am. Compl., Ex. B. The Amended Complaint

alleges that, “When the sales were made it was apparent that

Deutsche Bank had breached its duties and would not take steps

to remedy its failures.” Am. Compl. ¶ 163.

     The Amended Complaint alleges that the defendant’s conduct

has caused Commerzbank to suffer hundreds of millions of dollars

in losses on its investments in the Trusts. Am. Compl. ¶ 15.




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                                  III.

                                   A.

     The defendant has moved to dismiss as time-barred the

claims with respect to the “Palmer 3 Certificates,” see Biron

Decl., Ex. C; the “Commerzbank Certificates,” see Biron Decl.,

Ex. D; and the “Eurohypo Certificates,” see Biron Decl., Ex. E.

     Commerzbank acquired the Palmer 3 Certificates through its

merger with Dresdner Bank AG (“Dresdner”) in May 2009. Am.

Compl. ¶¶ 16, 20. Prior to the merger, Dresdner was a public

limited company incorporated in Germany with its principal place

of business in Germany. See Biron Decl., Ex. M (Dresdner

Financial Report 2008). Dresdner acquired the Palmer 3

Certificates around August 2008 from Palmer Square 3 Limited

(“Palmer 3”), a private limited liability company organized

under the laws of Ireland. Am. Compl. ¶¶ 17, 20.

     Commerzbank acquired the Commerzbank Certificates at their

issuance. Am. Compl. ¶ 17; see also Am. Compl., Ex. B.

     Commerzbank acquired the Eurohypo Certificates on December

11, 2013 from Eurohypo AG (“Eurohypo”), now known as

Hypothekenbank Frankfurt AG, New York Branch, which was the New

York branch of a corporate entity organized under the laws of

Germany. Am. Compl. ¶¶ 17, 19; see also Biron Decl., Ex. L

(Commerzbank Financial Statements and Management Report 2015).



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     A federal court sitting in diversity applies the forum

state’s statute of limitations provisions as well as any

provisions that govern the tolling of the statute of

limitations. Diffley v. Allied–Signal, Inc., 921 F.2d 421, 423

(2d Cir. 1990); see also Vincent v. Money Store, 915 F. Supp. 2d

553, 562 (S.D.N.Y. 2013). In diversity cases in New York,

federal courts apply New York’s borrowing statute, N.Y. C.P.L.R.

§ 202. Stuart v. Am. Cyanamid Co., 158 F.3d 622, 627 (2d Cir.

1998).

     N.Y. C.P.L.R. § 202 requires a non-resident plaintiff to

file a claim within the shorter of either: 1) the New York

statute of limitations; or 2) the statute of limitations in the

jurisdiction in which the claim accrued. Glob. Fin. Corp. v.

Triarc Corp., 715 N.E.2d 482, 484 (N.Y. 1999) (“When a

nonresident sues on a cause of action accruing outside New York,

CPLR 202 requires the cause of action to be timely under the

limitation periods of both New York and the jurisdiction where

the cause of action accrued. This prevents nonresidents from

shopping in New York for a favorable Statute of Limitations.”

(footnote omitted)). When borrowing a foreign jurisdiction’s

statute of limitations, the tolling provisions are also

borrowed. GML, Inc. v. Cinque & Cinque, P.C., 877 N.E.2d 649,

650 (N.Y. 2007).



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     “[B]ecause the defendant[] bear[s] the burden of

establishing the expiration of the statute of limitations as an

affirmative defense, a pre-answer motion to dismiss on this

ground may be granted only if it is clear on the face of the

complaint that the statute of limitations has run.” Fargas v.

Cincinnati Mach., LLC, 986 F. Supp. 2d 420, 427 (S.D.N.Y. 2013)

(citations omitted).

     Commerzbank initiated this suit on December 23, 2015.

                                   (i)

     With respect to the Palmer 3 Certificates, the defendant

argues that any claims that accrued prior to December 23, 2009,

the longest New York statute of limitations applicable to any of

Commerzbank’s claims, are time-barred under New York law.1 The

defendant presses the application of the relevant New York

statute of limitations for any claims related to the Palmer 3

Certificates that accrued prior to the transfer of the Palmer 3

Certificates from Palmer 3 to Dresdner in August 2008.

     The parties’ papers on this point are like two ships

passing in the night. Commerzbank does not dispute the

defendant’s basic New York untimeliness argument, but instead

suggests that the relevant statute of limitations for many of

1
  As in Deutsche Bank I, the parties do not dispute the
applicable limitations periods for the various claims, and the
longest relevant limitations period under New York law is six
years. See Phoenix Light, 172 F. Supp. 3d at 708 n.2 (discussing
the relevant New York statute of limitations for each claim).
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its claims would be tolled under American Pipe & Const. Co. v.

Utah, 414 U.S. 538 (1974). See Pl.’s Op. Mem. at 5 & n.1. In

reply, the defendant is equally nonresponsive to Commerzbank’s

position, asserting that “Commerzbank does not dispute that to

the extent its claims accrued before December 23, 2009 (i.e., 6

years before this action), they are time-barred under New York

law.” Def.’s Reply Mem. at 1 n.2.

     On December 23, 2014, one year prior to the initiation of

this action, the plaintiffs in the Phoenix Light Action brought

the same causes of action at issue in this case, which were thus

subject to the same statutes of limitations under New York law.

See Phoenix Light, 172 F. Supp. 3d at 709. In Deutsche Bank I,

this Court ruled that “[a]ny claims arising from facts prior to

December 23, 2008, the longest statute of limitations applicable

to any of the claims, would be time barred.” Id.

     The plaintiffs in the Phoenix Light Action did not raise

the issue of American Pipe tolling. See Phoenix Light Action,

14-cv-10103, Dkt. 40. Under American Pipe, “the commencement of

a class action suspends the applicable statute of limitations as

to all asserted members of the class who would have been parties

had the suit been permitted to continue as a class action.” Am.

Pipe, 414 U.S. at 554; see also In re New Oriental Educ. & Tech.

Grp. Sec. Litig., 293 F.R.D. 483, 487 (S.D.N.Y. 2013). “[T]he

Court of Appeals for the Second Circuit has recognized that

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American Pipe tolling is part of New York common law.” Choquette

v. City of New York, 839 F. Supp. 2d 692, 697 n.3 (S.D.N.Y.

2012) (citing Cullen v. Margiotta, 811 F.2d 698, 719–21 (2d Cir.

1987) (“New York courts have . . . long embraced the principles

of American Pipe.”), overruled on other grounds by Agency

Holding Corp. v. Malley–Duff & Assocs., Inc., 483 U.S. 143

(1987)).

     Commerzbank has raised a potentially meritorious argument

that could overcome at least portions of the defendant’s New

York statute of limitations defense with respect to the Palmer 3

Certificates. The defendant, represented by counsel, has failed

to respond to the American Pipe tolling argument other than to

assert erroneously that Commerzbank conceded the New York time

bar to its claims. Because the defendant failed to respond to a

potentially meritorious argument by Commerzbank, the defendant’s

motion to dismiss as untimely under New York law the claims with

respect to the Palmer 3 Certificates is denied without prejudice

to renewal in a later motion or answer. See Stop & Shop

Supermarket Co. LLC v. Goldsmith, No. 10-cv-3052 (VB), 2013 WL

3179501, at *9 (S.D.N.Y. June 24, 2013).

                                  (ii)

     The defendant argues that all of the claims related to the

Commerzbank Certificates, the Eurohypo Certificates, and the



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Palmer 3 Certificates (that accrued after their transfer to

Dresdner) are time-barred under German law.

     For the purposes of N.Y. C.P.L.R. § 202, a cause of action

“accrued” at the time when, and the place where, the plaintiff

is injured. Glob. Fin. Corp., 715 N.E.2d at 484; see also

Portfolio Recovery Assocs., LLC v. King, 927 N.E.2d 1059, 1061

(N.Y. 2010) (noting that, where a cause of action has been

assigned, the question of where and when the cause of action

accrued focuses on the original assignor). Absent unusual

circumstances, when the injury of a nonresident plaintiff is

purely economic, the cause of action accrues where the plaintiff

resides and sustains the economic impact of the loss, see Glob.

Fin., 715 N.E.2d at 485, rather than where the defendant

committed the wrongful acts, see Gordon & Co. v. Ross, 63 F.

Supp. 2d 405, 408 (S.D.N.Y. 1999) (citation omitted); see also

Vincent, 915 F. Supp. 2d at 568. “If the injured party is a

corporation, then the place of residence for the purposes of

[the borrowing statute] is traditionally the state of

incorporation or the corporation’s principal place of business.”

HSN Nordbank AG v. RBS Holdings USA Inc., No. 13 CIV. 3303

(PGG), 2015 WL 1307189, at *5 (S.D.N.Y. Mar. 23, 2015) (quoting

Baena v. Woori Bank, No. 05 Civ. 7018(PKC), 2006 WL 2935752, at

*6 (S.D.N.Y. Oct. 11, 2006)). “[T]he thrust of the inquiry is

who became poorer, and where did they become poorer as a result

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of the conduct complained of.” Id. (citation and internal

quotation marks omitted).

     It is undisputed that the alleged injuries in this case are

purely economic in nature; that Commerzbank was incorporated in

Germany with its principal place of business in Germany at the

time its claims accrued; and that Eurohypo and Dresdner, the

banking entities whose claims Commerzbank has acquired, were

likewise incorporated in Germany with their respective principal

places of business in Germany at the time their claims accrued.

The challenged claims plainly accrued in Germany and, pursuant

to the New York borrowing statute, are subject to any relevant

German statute of limitations as well as any relevant New York

statute of limitations.2 See, e.g., IKB Deutsche Industriebank AG

v. McGraw Hill Fin., Inc., No. 14-CV-3443 (JSR), 2015 WL

1516631, at *3 (S.D.N.Y. Mar. 26, 2015), aff’d, 634 F. App’x 19

(2d Cir. 2015) (summary order).

     Nevertheless, Commerzbank argues that its claims must be

timely under New York and English law, but not German law,

because Commerzbank’s “acquisitions and other activities related

to the Certificates were conducted at and through” Commerzbank’s

London Branch. Am. Compl. ¶ 16. Commerzbank makes no effort to

explain the effect of English law on the timeliness of its

2
  The defendant does not argue that the claims are untimely under
New York law except with respect to the Palmer 3 Certificates
prior to their transfer to Dresdner, as addressed above.
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claims. Commerzbank also does not address what law should apply

in the event that the claims accrued prior to their assignment

to Commerzbank from Dresdner and Eurohypo, respectively, but,

presumably, Commerzbank would advocate the application of a

statute of limitations other than that of Germany. See Am.

Compl. ¶ 17 (suggesting that Eurohypo’s RMBS purchase decisions

were made from its New York branch); Am. Compl. ¶ 20 (suggesting

that Dresdner’s RMBS purchase decisions were made from its

London branch).

     Commerzbank argues that the German statute of limitations

should not be applied because a departure from the general New

York rule for corporate claim accrual is warranted based on the

“financial base” exception identified in Lang v. Paine, Webber,

Jackson & Curtis, Inc., 582 F. Supp. 1421, 1426 (S.D.N.Y. 1984).

Under the Lang financial base exception, “Where a plaintiff

‘maintain[s] [a] separate financial base’ and where the impact

of the financial loss [is] felt at that location, it may

constitute an alternative place of injury.” Baena, 2006 WL

2935752, at *6 (citation omitted). In Lang, 582 F. Supp. at

1426, the court found that, although the individual-plaintiff in

that case was a resident of Canada at the time his claims for

securities fraud and breach of fiduciary duty accrued, his

claims should be deemed to have accrued in Massachusetts, where



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he maintained the bank account --- his “financial base” --- that

was allegedly victimized by the defendant’s acts.

     Commerzbank has cited no case in which a court found that a

branch constituted a financial base separate from the bank for

purposes of the Lang financial base exception. To the contrary,

courts have repeatedly rejected the application of the financial

base exception in RMBS cases similar to this one because “it is

well established that a ‘branch or agency of a bank is not a

separate entity.’” HSN Nordbank, 2015 WL 1307189, at *5 (quoting

In re Liquidation of N.Y. Agency & Other Assets of Bank of

Credit & Commerce Int’l, S.A., 683 N.E.2d 756, 762 (N.Y. 1997));

see also, e.g., Deutsche Zentral-Genossenchaftsbank AG v. HSBC

N. Am. Holdings, Inc., No. 12 CIV. 4025 (AT), 2013 WL 6667601,

at *6 (S.D.N.Y. Dec. 17, 2013); Deutsche Zentral-

Genossenschaftsbank AG, N.Y. Branch v. Citigroup, Inc., 998

N.Y.S.2d 306, 2014 WL 4435991, at *1 (N.Y. Sup. 2014) (“[I]t is

well established under New York law that ‘a branch/agency is

nothing more than a stall in the money market bazaar of

international banking in New York.’” (citation omitted));

Stichting Pensioenfonds ABP v. Credit Suisse Grp. AG, 966

N.Y.S.2d 349, 2012 WL 6929336, at *2-3 (N.Y. Sup. 2012);

Deutsche Zentral-Genossenschaftsbank AG v. Bank of Am. Corp. (In

re Countrywide Fin. Corp. Mort.-Backed Sec. Litig.), Nos. 2:11-

ML-02265-MRP, 13-CV-01118, 2014 WL 4162382, at *3 (C.D. Cal.

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June 18, 2014); see also Baena, 2006 WL 2935752, at *7; cf.

Bayerische Landesbank, N.Y. Branch v. Aladdin Capital Mgmt. LLC,

692 F.3d 42, 51 (2d Cir. 2012) (“[A bank branch] is not

separately incorporated, has no legal identity separate from

[the bank], and therefore has no standing to assert a claim

against [the defendant] independent of [the bank’s] claim.”).

     As Judge Torres explained in Deutsche Zentral-

Genossenchaftsbank, 2013 WL 6667601, “economic injury is said to

occur in a location other than where the plaintiff resides only

in ‘extremely rare case[s] where the party has offered unusual

circumstances.’” Id. at *5 (quoting Robb Evans & Assocs. LLC v.

Sun America Life Ins., No. 10 Civ. 5999, 2012 WL 488257, at *4

(S.D.N.Y. Feb. 14, 2012)). “[E]xtending the Lang exception to

non-resident corporations conducting business in New York

without a showing of unusual circumstances ‘would allow the

exception to swallow the rule and render New York's borrowing

statute toothless.’” Id. at *6 (quoting Stichting Pensioenfonds,

2012 WL 6929336, at *3).

     There is nothing in the Amended Complaint to suggest that

Commerzbank can meet this showing, or that this case is any

different from the multitude of cases that have rejected the

application of the financial base exception in essentially

identical circumstances. See Deutsche Zentral-

Genossenchaftsbank, 2013 WL 6667601, at *6 (“[T]he information

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cited in support of [the plaintiffs’] argument [for the Lang

exception] is either irrelevant to the inquiry or

indistinguishable from the conduct of hundreds of other

financial services companies that operate in New York, but are

located abroad.”). The allegations in the Amended Complaint

indicate that this is a standard economic injury case, and

certainly not unusual. Indeed, Commerzbank is more circumspect

in the Amended Complaint than in its papers with respect to the

locus of its economic losses, alleging only that, “The sales of

the Sold Certificates were made by London Branch and the

economic losses from those sales were experienced in Commerzbank

in England and/or in Germany where Commerzbank is located.” Am.

Compl. ¶ 163 (emphasis added). It is apparent from the Amended

Complaint that Commerzbank cannot establish the presence of

unusual circumstances in this case, such as a showing that it

was operating so far outside of normal corporate banking

existence at the time its claims accrued that they could not be

said to have accrued in Germany. Cf. Daimler AG v. Bauman, 134

S. Ct. 746, 755-56 (2014) (noting that a corporation might be

appropriately subject to general jurisdiction in a place other

than its principal place of business or state of incorporation

where the corporation experienced a dislocation of business due

to a war). Even if all of the material decisions with respect to

the purchase of the Certificates were made at the London branch

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of Commerzbank, Commerzbank ultimately felt its economic losses

at its principal place of business and state of incorporation:

Germany. See Deutsche Zentral-Genossenchaftsbank, 2013 WL

6667601, at *6 (noting that the Lang exception does not apply

“even when the due diligence review was conducted in New York

and the certificate purchases were carried out in New York,

involving New York accounts, and the certificates were later

managed in New York” (citing In re Countrywide, 834 F. Supp. 2d

at 958; Stichting Pensioenfonds, 2012 WL 6929336, at *2)).

     Commerzbank urges that discovery is required to resolve the

issue, but courts have not required discovery to reject the

applicability of the financial base exception where the

allegations in the complaint made it clear that the exception

could not apply. See, e.g., Baena, 2006 WL 2935752, at *7.

Landesbank Baden-Wurttemberg v. RBS Holdings USA Inc., 14 F.

Supp. 3d 488 (S.D.N.Y. 2014), does not aid Commerzbank.

Landesbank, 14 F. Supp. 3d at 501-02, involved claims brought by

several related plaintiffs --- two special purposes vehicles, a

trustee, and a bank --- that had different principal places of

business and incorporation. The defendants argued that the

claims of the special purpose vehicles and the trustee accrued

at the principal place of business and incorporation of the

bank-plaintiff because the bank controlled these other non-bank

entities. Id. After noting its skepticism that the Lang

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exception could apply in that case, the court permitted the

record to be developed. Id. at 502. Landesbank thus involved a

complex corporate structure shared by several related plaintiffs

that had (at least formally) separate corporate existences, and

a question as to which entity ultimately felt the economic

losses, the non-bank entities individually, or the bank that had

ultimate control over the non-bank entities. By contrast, here,

there is no question that Commerzbank ultimately felt its

economic losses in Germany because Commerzbank’s branches have

no separate existence from Commerzbank. The accrual analysis is

the same for the claims of Dresdner and Eurohypo (both of which

are banks) that accrued prior to their assignment to

Commerzbank. All of the claims at issue must be timely under

German law.3

     The parties have submitted dueling expert reports --- from

Doctor Heinz-Peter Mansel on behalf of Commerzbank, and Doctor

Mathias Rohe on behalf of the defendant, respectively ---

regarding the application of German law to this case. Pursuant

to Rule 44.1 of the Federal Rules of Civil Procedure, questions

of foreign law are treated as questions of law, and the Court

3
  Notwithstanding the foregoing, in light of the disposition of
this opinion, Commerzbank may renew its argument after
discovery. Absent the showing of unusual circumstances required
to establish a separate financial base, the challenged claims
must be timely under German law. It is difficult to see what
discovery Commerzbank needs to establish where it experienced
the economic loss about which it is complaining.
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“may consider any relevant material or source, including

testimony, whether or not submitted by a party or admissible

under the Federal Rules of Evidence.” Fed. R. Civ. P. 44.1; see

also Seetransport Wiking Trader Schiffahrtsgesellschaft MBH &

Co., Kommanditgesellschaft v. Navimpex Centrala Navala, 29 F.3d

79, 81 (2d Cir. 1994); Carbotrade S.p.A. v. Bureau Veritas, No.

92 Civ. 1459, 1998 WL 397847, at *2 (S.D.N.Y. July 16, 1998).

“Accordingly, foreign law should be argued and briefed like

domestic law. As with domestic law, judges may rely on both

their own research and the evidence submitted by the parties to

determine foreign law.” Sealord Marine Co. v. Am. Bureau of

Shipping, 220 F. Supp. 2d 260, 271 (S.D.N.Y. 2002) (citation

omitted); see also IKB Deutsche Industriebank, 2015 WL 1516631,

at *3 n.1 (noting that courts “may reject the opinion of an

expert on foreign law or give it whatever probative value the

court believes it deserves” (citation omitted)).

     Due to the proliferation of RMBS litigation in America

involving claims that accrued in Germany, American courts have

recently had the opportunity to interpret the German statute of

limitations applicable to this case. As the Court of Appeals

explained in IKB Deutsche Industriebank AG v. McGraw Hill Fin.,

Inc., 634 F. App’x 19 (2d Cir. 2015) (summary order):

     The parties agree that the relevant provision of
     German law is Section 195 of the German Civil Code,
     which has a three-year limitations period. That period

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     begins to run at the end of the calendar year in which
     1) the claim arose and 2) the plaintiff either has
     knowledge of the circumstances giving rise to the
     claim and the identity of the defendant, or would have
     had   such   knowledge   but  for   gross  negligence.
     Bürgerliches Gesetzbuch [BGB] [Civil Code], § 199. . .
     . [U]nder German law, a plaintiff has knowledge of the
     circumstances giving rise to the claim when she
     obtains knowledge of the facts necessary to commence
     an action in Germany with an “expectation of success”
     or “some prospect of success,” though not without risk
     and even if the prospects of success are uncertain. .
     . . To satisfy this standard, a plaintiff need not
     know all the relevant details or have conclusive proof
     available; knowledge of the factual circumstances
     underlying the claim is sufficient.

     Id. at 22. “[T]he standard requires that the plaintiff

possess sufficient information to ‘be able to formulate a

consistent and coherent statement of the claim.’” Id. at 22 n.2;

see also In re Countrywide, 2014 WL 3529686, at *5 (cited

approvingly by IKB Deutsche Industriebank, 634 F. App’x at 22).

Although the Rohe and Mansel expert reports arrive at opposite

conclusions with respect to the timeliness of Commerzbank’s

claims, the reports are largely consonant with the articulation

of German law by the Court of Appeals.

     The defendant argues that Commerzbank’s claims accrued, at

the latest, by 2011, and, thus, if by end-of-year 2011,

Commerzbank had knowledge of the circumstances giving rise to

its claims and the identity of the defendant, then its claims

must be time-barred (the defendant does not argue that

Commerzbank was grossly negligent in acquiring knowledge about


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its claims). Under German law, Commerzbank must have had

sufficient knowledge of each element of each of its claims with

respect to each Trust for Section 195 to bar all of the claims

that accrued in Germany. See, e.g., HSN Nordbank, 2015 WL

1307189, at *6; Phoenix Light SF Ltd. v. Ace Sec. Corp., 975

N.Y.S.2d 369 (N.Y. Sup. 2013) (“[T]he statute of limitations

does not begin to run until plaintiff is on notice of every

element of the claim, which, in the case of fraud, includes

scienter.”); see also Mansel Expert Report ¶ 35; Rohe Reply

Expert Report ¶ 11.

     “Limitations-based arguments in RMBS fraud actions have not

generally been accepted at the motion to dismiss phase.” HSN

Nordbank, 2015 WL 1307189, at *6 (citation omitted) (collecting

cases). “Prospective plaintiffs in such actions often ‘have a

difficult task in obtaining sufficient notice of the facts

underlying their claims.’” Id. (citation omitted).

     Based on the allegations, see Fargas, 986 F. Supp. 2d at

427, it cannot be concluded that Commerzbank had sufficient

knowledge of each element of each of its claims with respect to

each, or any, Trust by end-of-year 2011 such that it could have

commenced this action with an expectation, or some prospect, of

success. The Amended Complaint includes myriad allegations about

the pre-2012 conduct of the Third-Party Entities, and the

defendant’s knowledge of that conduct, see, e.g., Am. Compl. ¶¶

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61, 77, 129; however, those allegations cannot be equated with

Commerzbank’s knowledge of that conduct. Indeed, Commerzbank’s

theory is that the defendant concealed the objectionable conduct

from Commerzbank.

     Similarly, the pre-2012 emergence of public information

about the conduct of the Third-Party Entities, along with

certain red flags about their conduct, see, e.g., Am. Compl. ¶¶

114-15, does not mean that Commerzbank necessarily had enough

information to connect the dots that it could bring any of its

claims with an expectation, or some prospect, of success against

the defendant. The defendant’s suggestion that Commerzbank had

the requisite knowledge of its claims based on pre-2012

litigation involving non-trustees fails for the same reason. See

HSN Nordbank, 2015 WL 1307189, at *6 (finding “[e]ven assuming,

arguendo, that German law requires a prospective plaintiff to

monitor foreign news accounts and litigation, it does not follow

that Plaintiffs were or should have been on notice of their

fraud claims” against underwriters years earlier); Landesbank,

14 F. Supp. 3d at 503.

     The defendant imputes knowledge to Commerzbank based on the

allegation that, when Commerzbank sold a handful of its

Certificates in November 2011, “it was apparent that [the

defendant] had breached its duties and would not take steps to

remedy its failures.” Am. Compl. ¶ 163. But the allegation does

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not make clear what Commerzbank knew at the time about the

factual circumstances underlying its claims, including whether

Commerzbank had sufficient information to formulate a consistent

and coherent statement of any of its claims.

     The defendant’s motion to dismiss as untimely under German

law the claims with respect to the Eurohypo Certificates, the

Commerzbank Certificates, and the Palmer 3 Certificates is

denied without prejudice to renewal in a later motion or answer.4

                                    B.

     Forty-six of the Trusts are governed by PSAs. As

Commerzbank concedes, its claims for violations of the TIA with

respect to these forty-six Trusts are foreclosed by the decision

of the Court of Appeals for the Second Circuit in Ret. Bd. of

the Policemen’s Annuity & Ben. Fund of the City of Chicago v.

Bank of N.Y. Mellon, 775 F.3d 154, 163 (2d Cir. 2014). See also

Phoenix Light, 172 F. Supp. 3d at 706 n.1, 721. Those TIA claims

are dismissed with prejudice.

                                    C.

     With respect to the forty-six Trusts governed by PSAs,

Commerzbank has brought claims seeking money damages for

violations of Sections 126 and 130-e of the Streit Act.



4
  The parties contest other issues of German law, which are
unnecessary to resolve at this point because their resolution
would not change the disposition of this motion.
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                                  (i)

     Section 126 of the Streit Act provides that a trustee shall

not accept a trust under an indenture or mortgage unless it

contains certain enumerated provisions. N.Y. Real Prop. Law §

126. In Deutsche Bank I, this Court concluded that Section 126

“requires only that a trust indenture contain certain

provisions, such as the provision requiring a trustee to

exercise rights and powers prudently in the case of an event of

default,” but that Section 126 “does not address compliance with

the provision that is required to be included in the indenture

agreement.” Phoenix Light, 172 F. Supp. 3d at 723. The

plaintiffs’ claims in that case were dismissed because the

plaintiffs had not alleged that the trust indentures failed to

include the provisions mandated by Section 126; rather, the

plaintiffs’ claims were predicated on the failure to comply with

those terms, which could not state a cause of action under

Section 126. Id. Commerzbank’s claims for violations of Section

126 here suffer from the same flaws, and are thus dismissed with

prejudice.

                                  (ii)

     Section 130-e of the Streit Act --- a little-cited

provision in the case law --- provides that, “A trustee,

committee or any member thereof and a depository may be removed

by the court for cause shown upon the application of any person

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aggrieved by the act or omission to act of such trustee,

committee, member or depository after such notice and

opportunity to be heard in his or its defense as the court shall

direct.” Commerzbank does not seek the equitable relief

contemplated by Section 130-e, namely the removal of the

defendant as the trustee of the Trusts. Instead, Commerzbank

would bypass the available equitable relief provided by Section

130-e to seek money damages because Commerzbank has been

“aggrieved by the act or omission to act” of the defendant.

Commerzbank relies on the general principle that, under New York

law, “Where a plaintiff succeeds in proving his entitlement to

equitable relief, and the granting of such relief ‘appears to be

impossible or impracticable, equity may award damages in lieu of

the desired equitable remedy.’” Lusker v. Tannen, 456 N.Y.S.2d

354, 358 (App. Div. 1982) (quoting Doyle v. Allstate Ins. Co.,

136 N.E.2d 484, 486 (N.Y. 1956)).

     Commerzbank would stretch the limited rule that courts in

equity may fashion suitable relief, including by awarding

damages, to a plaintiff that has succeeded in proving its

entitlement to equitable relief, but without attempting to prove

its own entitlement to such relief. The argument puts the cart

before the horse. In effect, Commerzbank is trying to read a

broad statutory private right of action for money damages into

Section 130-e. But “[w]here the Legislature has not been

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completely silent but has instead made express provision for

civil remedy, albeit a narrower remedy than the plaintiff might

wish, the courts should ordinarily not attempt to fashion a

different remedy, with broader coverage” than the one provided

by the Legislature. Cruz v. TD Bank, N.A., 855 F. Supp. 2d 157,

172–73 (S.D.N.Y. 2012) (quoting Sheehy v. Big Flats Cmty. Day,

Inc., 541 N.E.2d 18, 22 (N.Y. 1989)), aff’d, 742 F.3d 520 (2d

Cir. 2013). The exclusive remedy afforded to an aggrieved party

under Section 130-e is the removal of the trustee. Commerzbank

has not pleaded that it is entitled to such relief.

     Moreover, Commerzbank has failed to establish that removal

would be “impossible or impractical.” The defendant is currently

alleged to be the trustee of the Trusts, meaning that removal

plainly remains within the ambit of the Court’s equitable power.

Commerzbank argues that such removal would be of “little

utility” because the defendant has already allegedly failed many

of its duties as a trustee. Pl.’s Op. Mem. at 22. However, that

does not mean that removal would be impossible or impractical,

or even undesirable for Commerzbank. Indeed, Commerzbank has

made clear that it is alleging that the defendant continues to

shirk its duties as trustee “to date.” Am. Compl. ¶ 117; see

also Am. Compl. ¶¶ 89, 97, 107, 126. Rather, Commerzbank is

simply claiming that it is dissatisfied with the statutory

remedy and can use the purported ineffectiveness of that remedy

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as a pretext for obtaining damages. But that would ignore the

plain limit of the statute.

     Accordingly, Commerzbank’s claim under Section 130-e of the

Streit Act is dismissed with prejudice.5

                                    D.

     The defendant has moved to dismiss for want of standing6 the

breach of contract claims with respect to the ten Trusts

governed by PSAs that contain “negating clauses.”7 See Biron

Reply Decl., Ex. B. As an example, a typical negating clause in

the PSAs provides that, “Nothing in this Agreement or in the

Certificates, expressed or implied, shall give to any Person,

other than the Certificateholders, the Hedge Counterparties and

the parties hereto and their successors hereunder, any benefit

or any legal or equitable right, remedy or claim under this

Agreement.” See, e.g., Biron Decl., Ex. 43 § 12.10; see also

Biron Reply Decl., Ex. B. Commerzbank concedes that it does not

hold the Certificates, and that the Depository Trust Company

(the “DTC”), also known as Cede & Co., is the actual holder of

the Certificates.

5
  It is unnecessary to reach the defendant’s alternative
arguments for dismissal of the Streit Act claims. See Phoenix
Light, 172 F. Supp. 3d at 723 n.10.
6
  The defendant has moved to dismiss these claims pursuant to
Rule 12(b)(1) of the Federal Rules of Civil Procedure.
7
  The defendant initially moved to dismiss the breach of contract
claim with respect to Trust “IMM 2007-A” on the same basis, but
has conceded that the operative PSA underlying that Trust does
not in fact contain a negating clause.
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     Just as in this case, the plaintiffs in the Phoenix Light

Action conceded that the DTC was the actual holder of the

certificates at issue there. See Phoenix Light, 172 F. Supp. 3d

at 711-12. In Deutsche Bank I, this Court found that, while the

plaintiffs were beneficial owners of the certificates held by

the DTC, they were not the registered holders, and thus that the

PSAs with negating clauses deprived the plaintiffs of standing

to pursue their breach of contract claims. See id. However, the

plaintiffs were permitted to attempt to cure their lack of

standing by obtaining authorization from the DTC to pursue those

claims. See id. at 712.

     Commerzbank stands in the same position as the plaintiffs

in the Phoenix Light Action. Because of the negating clauses,

Commerzbank, as a beneficial but not registered owner of the

Certificates, lacks standing to bring its breach of contract

claims for the ten Trusts at issue; however, Commerzbank may

cure its lack of standing by obtaining authorization from the

DTC, as Commerzbank represents it is currently seeking to do.

     Commerzbank attempts to distinguish Deutsche Bank I by

arguing that the DTC is acting as its agent and that Commerzbank

thus has standing to sue on the Certificates as a principal. The

argument is meritless because the plain language of the negating

clause clearly “bar[s] enforcement [of the PSAs] by unnamed

third-party beneficiaries,” such as Commerzbank. Royal Park

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Invs. SA/NV v. HSBC Bank USA, Nat’l Ass’n, 109 F. Supp. 3d 587,

607 (S.D.N.Y. 2015); see also India.Com, Inc. v. Dalal, 412 F.3d

315, 321 (2d Cir. 2005) (“Under New York law, the effectiveness

of a negating clause to preclude third-party beneficiary status

is well-established: ‘[w]here a provision exists in an agreement

expressly negating an intent to permit enforcement by third

parties, . . . that provision is decisive.’” (citations

omitted)). As with the arguments against enforcement of the

negating clauses advanced by the plaintiffs in Deutsche Bank I,

Commerzbank’s “interpretation of the [PSAs] . . . ignores the

plain language of the PSA provisions that treats registered

holders differently from beneficial owners and would render

superfluous the provision of the PSA that provides a mechanism

for beneficial owners to enforce the agreements.” Phoenix Light,

172 F. Supp. 3d at 711.

     Commerzbank’s breach of contract claims with respect to the

ten Trusts governed by PSAs with negating clauses are dismissed

without prejudice, subject to Commerzbank curing its lack of

standing.

                                   E.

     The defendant has moved to dismiss the claims for breach of

the implied covenant of good faith. As explained in Deutsche

Bank I:



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     “New York law . . . does not recognize a separate
     cause of action for breach of the implied covenant of
     good faith and fair dealing when a breach of contract
     claim, based upon the same facts, is also pled.”
     Harris v. Provident Life & Accident Ins. Co., 310 F.3d
     73, 81 (2d Cir. 2002). A plaintiff can maintain a
     claim for breach of the implied covenant of good faith
     and fair dealing simultaneously with a breach of
     contract claim “only if the damages sought by the
     plaintiff for breach of the implied covenant are not
     intrinsically tied to the damages allegedly resulting
     from breach of contract.” Page Mill Asset Mgmt. v.
     Credit Suisse First Bos. Corp., No. 98–cv–6907 (MBM),
     2000 WL 335557, at *8 (S.D.N.Y. Mar. 30, 2000)
     (citation and internal quotation marks omitted).

     Phoenix Light, 172 F. Supp. 3d at 721. The plaintiffs’

claims for breach of the implied covenant of good faith were

dismissed in Deutsche Bank I because they arose from the same

set of facts as their claims for breach of contract. Id.

     Commerzbank has presented no persuasive reasons to explain

why Deutsche Bank I is distinguishable from this case.

Commerzbank frames its claims for breach of the implied covenant

as based upon the defendant’s prevention or hindrance of the

occurrence of certain contractual conditions precedent that

could have allowed Commerzbank to mitigate its losses, but those

claims are duplicative of Commerzbank’s breach of contract

claims. See id. at 715 & n.5; see also Int’l Techs. Mktg., Inc.

v. Verint Sys., Ltd., 157 F. Supp. 3d 352, 367, 369 (S.D.N.Y.

2016). Commerzbank’s allegations for breach of the implied

covenant depend entirely on the defendant’s alleged breaches of

its obligations as set forth in the PSAs and the Indentures. The

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claims for breach of the implied covenant of good faith are

dismissed with prejudice.

                           CONCLUSION

     The Court has considered all of the arguments raised by the

parties. To the extent not specifically addressed, the arguments

are either moot or without merit. For the foregoing reasons, the

defendant’s motion to dismiss is granted in part and denied in

part. The Clerk is directed to close Dkt. 31.

SO ORDERED.

Dated:    New York, New York
          February 8, 2017              _____________/s/______________
                                               John G. Koeltl
                                         United States District Judge




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